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                   EXHIBIT 2
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      Oracle's Golden Goose, Maintenance Revenue, Contains Flight Risk                                                                                                                                Page 1 of2



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                          Oracle's Golden Goose, Maintenance Revenue,
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                           Date:                                  03!11/2009@ 8:30AM
                          Source:                                     Dow Jones News
                           Stock:                                     CIGNA Corp. (CI)
                          Quote:                        +42.61 -0.59 (-1.37%)@ 12:39PM
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                       Oracle's Golden Goose, Maintenance Revenue, Contains Flight Risk



                      To undarstand why Qra~~-~ Corp.'s (ORCL) ~.Y-~.i!J~~s of selling                                                                   Oracle (NASDAO:ORCL)
                      long-term maintenance contracts may face pressure in the                                                                            Historical Stock Chart
                      future, consider the decision Santa Fe Natural Tobacco Co.                                                           3 YeoiS :Oo~ernher2006 10 Deoernber2011
                      recently made.
                                                                                                                       EJ Click~ tern for ml)re Oro.clo Cha"3·
                      Rusty Gaston, the chief Inform a tim• officer of tho Santa Fe,
                      N.M.-based unit of Reynolds American Inc. (RAI), switGhed the
                      ccmpany's service contract for Oracle ~o.!:l:wll'!' Ia Rimini
                      Street, a third-party support company that says it charges half
                      of what Oracle does.

                      'We were paying higher lees," Gaston said of the Oracle
                      contract. "And getting no more for it."

                      How many of Oracle's customers follow suit is an open
                      question lor the Redwood City, Calif.-based company, which
                      garnered roughly hall of its $22,4 billion in 2008 sales from
                      highly profl1able maintenance revenue.

                      Oracle's maintenance revenue stream is likely to be resilient in the short term. The company's databases, accounting and
                      !11.1man <esources soltware are used arcun<i the "H<>rld, and many ol Oracle's customers depend on thG company's support.
                      But the economic downturn might prompt some cost-conscious customers to look for alternative support se:vices.

                      To be sure, Oracle has weathered recessions in the pa$1, and the company's maintenance cor~ tracts have a very high
                      renewal rata. In addition, analyst Peter Goldmacher of Cowen & co. said canceling Oracls maintenance contracts is
                      "foolish" because Oracle provides service others can't match.

                      Still, evidence suggests Oracle customers want changes to their maintenance co71tracts, Some are skirting the issue by
                      movir~g to lower-cost, Web-based software tools, such as those from competitor Salesforce.com Inc. (CAM), which said last
                      month \hat it had poached customers, like f"_lti.t; Carp. (EMC), !rom Oracle.

                      An Oracle spokeswoman declined to comment for this article, saying the company was in a quiet period ahead of its
                      eamiDgs, For ths fiscal third quarter, analysts expect Oracle to post a 7% rise in per-share earnings to 32 cents when when
                      11 mports March 18, and Cjtigr9UR sees maintenance fees growing 8%.

                      investors lo'/e Oracle's maintenance and service contracts, which generate margins of roughly 85%, according to analysis.
                      Oracle charges a fixed 22% of the price of a software package, which can cast hundreds at thousands of dollars, lor
                      maintenance.

                     The margins and recurring nature of Oracle's maintenance contracts have helped the company's sh.ar,.,s. outperform its rivals
                     - Walldort, Germany-based ~ap AG (SAP), which laces similar pressures, and Redmond, Wash.-fi2SOOMiffil_2.9.f! Corp.
                     (MSFT)- over lh<> past Y"ar. Oracle shares, which closed Tuesday at $15,09, have fallen a r<>latively mild 24% compamd
                     with SAP's 33% drop and Micmsct\'s 45% fall.

                     Critics say Oracle needs to reassess its one-size-fits·all business model beca~se customers might move away as mare
                     outside options become available and as the recession prompts companies to bacome more vigilant in their spending.

                     Customer irritation over software companies' m aintena11ce pricing policies began last year, when SAP customers protested
                     a rate hike. It soon spread to other companies.




     http://www .advfn.com!news_Oracles-Golden-Goose-Maintenance-Revenue-Contains-Flig .. : 12/8/2011


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ORACLE INTERNAL                                                                  DTX_0027 Page 1 of 2                                                                                        NOT A FINAL EXHIBIT
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      Oracle's Golden Goose, Maintenance Revenue, Contains Flight Risk                                                                                                                     Page 2 of2




                          In January, trade magazine Information Week published an open letter by its editorial director to Oracle Chief Executive
                          Larry Ellison that underscored the building frustration and requested changes to Oracle's single·tier pricing policy,

                         Even Oracle, in its 2006 annual report, acknowledges that it faces rising competitive pressures. "Our competitors may offer
                         lower percentage pricing on product updates and support, which could put pressure on us to further discount our new
                         license prices," the company said. Discounting new software licenses would eventually lead to lower support revenue,
                         analysts said.

                         JeHeries & Co. said recently it expects maintenance revenue to slow as license sales fall off. "At the trm:gh, we expect
                         support revenues to flatten to very tow single digit (growth) in FY 10," analyst Ross MacMillan said.

                         Not everyone agrees, though, that Oracle's model is threatened.

                         Goldmacher, the Cowen analyst, said customers shouldn't switch to third·party maintenance providers because they will
                         miss out on product upgrades. Relying on soflware-as·a·se/ViCe providers, like Salesforce.com, for all of their computing
                         needs, would be imprudent, he said.

                         "A customer who thinks buying software as a service is a better deal than (Oracle) maintenance is deluding himself," he
                         said,

                         And Oracle wea/hered !he 2000..[) 1 technology recession wilholil seeing a major decline in its maintenance revenue stream,
                         though sales of new pmducts ware hil

                         Still, consultants and analysts said the growing list of alternatives, along with severe pressure to cut [[_costs, suggests a
                         lipping paint Is approaching, Besides Rimini Street ancJ Saleslorce, new competition is coming from ~ Inc, (N]. Talea
                         Corp. [TLEO), Concur Technologies Inc. [CNQR) and privately-held Workday Inc.

                        "There's going to be a breaking point soon where customers say they're spending too much on maintenance and not getting
                        enough value," saicJ Forrester Research Inc.'s R. Ray Wang, "Investors should taxa note."

                        -By Jessica Hodgson, Dow Jones Newswires; 415·439·6455, jessica.hodgsOil@dowjones.com




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